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                                                                      FILED
                                                                       JUN 14 2017
                                                                    Clb~'t U S District Court
                                                                        s net.Of Montana
                                                                           Missoula
                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             MISSOULA DIVISION

 UNITED STATES OF AMERICA,                            CR-17-09-M-DLC

                       Plaintiff,
                                                     FINDINGS AND
                                                   RECOMMENDATION
         vs.                                       CONCERNING PLEA
 LEANN REGAN DONTIGNY,

                      Defendant.




      The Defendant, by'consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of conspiracy to distribute

methamphetamine in violation of 21 U.S.C. § 846, as set forth in the Superseding

Information. Defendant further admits to the forfeiture allegation. In exchange for

Defendant's plea, the United States has agreed to dismiss the Indictment

previously filed in this matter.

      After examining the Defendant under oath, I have made the following



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determinations:

       1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea to the criminal offense charged against her, and an

informed and voluntary admission to the allegation of forfeiture;

       2. That the Defendant is aware of the nature of the charge against her and

the consequences of pleading guilty to the charge;

       3. That the Defendant understands the allegation of forfeiture and the

consequences of admitting to the allegation;

       4. That the Defendant fully understands her constitutional rights, and the

extent to which she is waiving those rights by pleading guilty to the criminal

offense charged against her, and admitting to the allegation of forfeiture;

       5. That both her plea of guilty to the criminal offense charged against her

and her admission to the allegation of forfeiture are knowingly and voluntarily

entered, and are both supported by independent factual grounds sufficient to prove

each of the essential elements of the criminal offense charged and the legal basis

for the forfeiture.

       The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that she fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

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true. Therefore, I recommend that the Defendant be adjudged guilty of the charge

set forth in the Superseding Information, and that sentence be imposed. I further

recommend that the Indictment be dismissed, and that the agreed forfeiture be

imposed against Defendant.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

            DATED this 13th day of June, 2017.




                                       er      iah C. Lynch
                                            ited States Magistrate Judge




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